       Case 24-50512-grs                   Doc 22 Filed 05/09/24 Entered 05/10/24 00:07:12                                              Desc Imaged
                                                 Certificate of Notice Page 1 of 7
                                                              United States Bankruptcy Court
                                                               Eastern District of Kentucky
In re:                                                                                                                 Case No. 24-50512-grs
Donald Anthony Fitzpatrick                                                                                             Chapter 11
Ashley Louise Fitzpatrick
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0643-5                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: May 07, 2024                                               Form ID: 309E2                                                            Total Noticed: 55
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 09, 2024:
Recip ID                 Recipient Name and Address
db/jdb                 + Donald Anthony Fitzpatrick, Ashley Louise Fitzpatrick, 1152 Red Lick Road, Berea, KY 40403-9647
tr                     + Charity S Bird, 710 West Main Street, Fourth Floor, Louisville, KY 40202-2698
7182570                + AMERICA POOL & SPA, 265 NORTH KEENELAND DRIVE, RICHMOND KY 40475-8523
7182574                + BARR CREDIT, C/O LORENE EDWARDS, 3444 N. COUNTRY CLUB ROAD, TUCSON AZ 85716-0815
7182576                + CENTRAL BANK, P.O. BOX 481, LEXINGTON KY 40588-0481
7182588                + FAST FLOW PLUMBING, LLC, 1152 RED LICK ROAD, BEREA KY 40403-9647
7182589                + FIRST CITIZEN BANK, 155 COMMERCE WAY, PORTSMOUTH NH 03801-3243
7182590                + FIRST CITIZEN BANK, 239 FAYETTEVILLE, RALEIGH NC 27601-1309
7182591                + FIRST CITIZEN BANK, P.O. BOX 856502, MINNEAPOLIS MN 55485-6502
7182592                + FLASH FUNDING LLC, ERICA R. GILERMAN, ESQ., 10622 HIRSCH ROAD, HOUSTON TX 77016-2622
7182594                + HOME DEPOT, P.O. BOX 2317, JACKSONVILLE FL 32203-2317
7182597                + JOSEPH BAKER, C/O ROBERT L. ROARK, ESQ., 401 LEWIS HARGETT CIRCLE, STE. 210, LEXINGTON KY 40503-3565
7182598                + KENTUCKY DEPARTMENT OF REVENUE, FRANKFORT KY 40619-0001
7182605                + ROCKET CAPITAL NY, BERKOVITCH & BOUSKILA, ESQ, 1545 U.S. 202, STE. 101, POMONA NY 10970-2951
7182610                + TOYOTA INDUSTRIES COMMERCIAL FINANCE, P.O. BOX 660926, DALLAS TX 75266-0926
7182611                + U.S. SMALL BUSINESS ADMINISTRATION, 4300 AMON CARTER BLVD., FORT WORTH TX 76155-2652
7182613                + VELOCITY CAPITAL GROUP SETTLEMENT, ATTN: GENE ROSEN'S LAW FIRM, 200 GARDEN CITY PLAZA, STE. 405,
                         GARDEN CITY NY 11530-3338
7182616                + WISEWAY, LLC, C/O ROBERT A. MCMAHON, ESQ., 2245 GILBERT AVE., STE. 101, CINCINNATI OH 45206-3000
7182617                + WLEX SCRIPPS MEDIA, INC., P.O. BOX 947746, ATLANTA GA 30394-7746

TOTAL: 19

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: hamilawoff@gmail.com
                                                                                        May 07 2024 22:07:00      John T. Hamilton, PO Box 240, Lexington, KY
                                                                                                                  40588
7185489                + Email/PDF: acg.acg.ebn@aisinfo.com
                                                                                        May 07 2024 22:17:11      ALLY BANK DEPARTMENT, AIS
                                                                                                                  PORTFOLIO SERVICES LLC, 4515 N SANTA
                                                                                                                  FE AVE DEPT APS, OKLAHOMA CITY OK
                                                                                                                  73118-7901
7182568                + Email/Text: ally@ebn.phinsolutions.com
                                                                                        May 07 2024 22:07:00      ALLY FINANCIAL, P.O. BOX 8133,
                                                                                                                  COCKEYSVILLE MD 21030-8133
7182569                + Email/Text: ally@ebn.phinsolutions.com
                                                                                        May 07 2024 22:07:00      ALLY FINANCIAL, 500 WOODWARD AVE.,
                                                                                                                  DETROIT MI 48226-3416
7182571                + Email/PDF: bncnotices@becket-lee.com
                                                                                        May 07 2024 22:16:57      AMERICAN EXPRESS, P.O. BOX 981540, EL
                                                                                                                  PASO TX 79998-1540
7182572                    Email/Text: creditcardbkcorrespondence@bofa.com
                                                                                        May 07 2024 22:07:00      BANK OF AMERICA, P.O. BOX 982234, EL
                                                                                                                  PASO TX 79998
7182573                    Email/Text: creditcardbkcorrespondence@bofa.com
                                                                                        May 07 2024 22:07:00      BANK OF AMERICA, P.O. BOX 31785,
                                                                                                                  TAMPA FL 33631-3785
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7185413           Email/Text: creditcardbkcorrespondence@bofa.com
                                                                        May 07 2024 22:07:00   BANK OF AMERICA, N.A., PO BOX 31785,
                                                                                               TAMPA, FL 33631-3785
7182575         + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                        May 07 2024 22:05:52   CAPITAL ONE, P.O. BOX 30285, SALT LAKE
                                                                                               CITY UT 84130-0285
7182577         + Email/Text: jessicaoehrlein@cpcrecovery.com
                                                                        May 07 2024 22:07:00   CENTRAL PORTFOLIO CONTROL, 10249
                                                                                               YELLOW CIRCLE DR., SUITE 200, HOPKINS
                                                                                               MN 55343-9111
7182578         + Email/Text: jessicaoehrlein@cpcrecovery.com
                                                                        May 07 2024 22:07:00   CENTRAL PORTFOLIO CONTROL, 10249
                                                                                               YELLOW CIRCLE DR., SUITE 200,
                                                                                               MINNETONKA MN 55343-9111
7182580         + Email/Text: nita.hosfelt@reducear.com
                                                                        May 07 2024 22:07:00   COLLECTION BUREAU OF FT WALTON
                                                                                               BEACH, P.O. BOX 4127, FORT WALTON
                                                                                               BEACH FL 32549-4127
7182581           Email/Text: bankruptcy@ctbi.com
                                                                        May 07 2024 22:07:00   COMMUNITY TRUST BANK, 346 NORTH
                                                                                               MAYO TRAIL, PIKEVILLE KY 41501
7182582         + Email/Text: BankruptcyLex@credit-bureau.com
                                                                        May 07 2024 22:07:00   CREDIT BUREAU SYSTEMS, INC., 2541 SIR
                                                                                               BARTON WAY, LEXINGTON KY 40509-2292
7182583           Email/Text: BankruptcyLex@credit-bureau.com
                                                                        May 07 2024 22:07:00   CREDIT BUREAU SYSTEMS, INC., P.O. BOX
                                                                                               11788, LEXINGTON KY 40578-1788
7182584         + Email/PDF: creditonebknotifications@resurgent.com
                                                                        May 07 2024 22:17:09   CREDIT ONE BANK, 6801 CIMARRON ROAD,
                                                                                               LAS VEGAS NV 89113-2273
7182585         + Email/PDF: ADVS_EBN_BKR_AUTO@advs.aidvantage.com
                                                                 May 07 2024 22:17:21          DEPT. OF EDUCATION, NAVIENT, P.O. BOX
                                                                                               9635, WILKES BARRE PA 18773-9635
7182586         + Email/Text: mrdiscen@discover.com
                                                                        May 07 2024 22:07:00   DISCOVER BANK, P.O. BOX 3025, NEW
                                                                                               ALBANY OH 43054-3025
7182587         + Email/Text: EB_CollectionsRecoveryTeam@Regions.com
                                                                        May 07 2024 22:07:00   ENERBANK USA, 650 S. MAIN STREET, STE.
                                                                                               1000, SALT LAKE CITY UT 84101-2844
7182590         + Email/Text: bkl@firstcitizens.com
                                                                        May 07 2024 22:07:00   FIRST CITIZEN BANK, 239 FAYETTEVILLE,
                                                                                               RALEIGH NC 27601-1309
7182589         ^ MEBN
                                                                        May 07 2024 22:01:00   FIRST CITIZEN BANK, 155 COMMERCE
                                                                                               WAY, PORTSMOUTH NH 03801-3243
7182593           Email/Text: bankruptcy@glacompany.com
                                                                        May 07 2024 22:07:00   GLA COLLECTION COMPANY, P.O. BOX 588,
                                                                                               GREENSBURG IN 47240
7182595         + Email/Text: bankruptcy@huntington.com
                                                                        May 07 2024 22:07:00   HUNTINGTON NATIONAL BANK, P.O. BOX
                                                                                               340996, COLUMBUS OH 43234-0996
7182596           Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                        May 07 2024 22:07:00   INTERNAL REVENUE SERVICE, P.O. BOX
                                                                                               804527, CINCINNATI OH 45280-4527
7182579           Email/PDF: ais.chase.ebn@aisinfo.com
                                                                        May 07 2024 22:06:08   CHASE CARD SERVICES, P.O. 15298,
                                                                                               WILMINGTON DE 19850
7182612           Email/PDF: ais.chase.ebn@aisinfo.com
                                                                        May 07 2024 22:17:21   UNITED MILEAGE PLUS, P.O. BOX 15123,
                                                                                               WILMINGTON DE 19850
7182599         ^ MEBN
                                                                        May 07 2024 22:00:57   KUBOTA CREDIT CORP., USA, 1000
                                                                                               KUBOTA DRIVE, GRAPEVINE TX 76051-2334
7182600         + Email/Text: camanagement@mtb.com
                                                                        May 07 2024 22:07:00   M & T BANK, P.O. BOX 619063, DALLAS TX
                                                                                               75261-9063
7182601         + Email/Text: slcranmer@masterssupply.net
                                                                        May 07 2024 22:07:00   MASTER SUPPLY, P.O. BOX 34337,
                                                                                               LOUISVILLE KY 40232-4337
7182602           Email/Text: collections@mhfcu.org
                                                                        May 07 2024 22:07:00   MEMBERS HERITAGE CREDIT UNION, 440
                                                                                               PARK PLACE, LEXINGTON KY 40505
7182603         + Email/Text: M74banko@mercedes-benz.com
                                                                        May 07 2024 22:07:00   MERCEDES BENZ FINANCIAL, P.O. BOX 685,
                                                                                               ROANOKE TX 76262-0685
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7182604                  Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                         May 07 2024 22:16:57               PORTFOLIO RECOVERY ASSOC., P.O. BOX
                                                                                                            12914, NORFOLK VA 23541
7182606                + Email/PDF: ais.sync.ebn@aisinfo.com
                                                                                   May 07 2024 22:17:04     SAMS CLUB, P.O. BOX 965060, ORLANDO FL
                                                                                                            32896-5060
7182607                + Email/Text: BKSPSElectronicCourtNotifications@spservicing.com
                                                                                 May 07 2024 22:07:00       SELECT PORTFOLIO SERVICES, P.O. BOX
                                                                                                            65250, SALT LAKE CITY UT 84165-0250
7182608                  Email/PDF: ais.sync.ebn@aisinfo.com
                                                                                   May 07 2024 22:06:32     SYNCHRONY BANK, ATTN: BANKRUPTCY
                                                                                                            DEPT., P.O. BOX 965065, ORLANDO FL
                                                                                                            32896-5065
7182609                + Email/Text: bnc-thebureaus@quantum3group.com
                                                                                   May 07 2024 22:07:00     THE BUREAUS INC., 650 DUNDEE ROAD,
                                                                                                            STE 370, NORTHBROOK IL 60062-2757
7182614                + Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                   May 07 2024 22:06:34     WELLS FARGO BANK, 1 HOME CAMPUS
                                                                                                            MAC X2303-01A 3RD FLOOR, DES MOINES
                                                                                                            IA 50328-0001
7182615                + Email/Text: wefsag@westernequipmentfinance.com
                                                                                   May 07 2024 22:07:00     WESTERN EQUIPMENT FINANCE, P.O. BOX
                                                                                                            640, DEVILS LAKE ND 58301-0640

TOTAL: 38


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
7182567                          CREDITOR'S MATRIX

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 09, 2024                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 7, 2024 at the address(es) listed below:
Name                             Email Address
Bradley M. Nerderman
                                 on behalf of U.S. Trustee U.S. Trustee Bradley.Nerderman@usdoj.gov

Charity S Bird
                                 cbird@kaplanjohnsonlaw.com
                                 hfrint@kaplanjohnsonlaw.com;KY60@ecfcbis.com;charity-bird-9970@ecf.pacerpro.com;charity-bird-9970@ecf.pacerpro.com;ty
                                 eager@kaplanjohnsonlaw.com

John T. Hamilton
                                 on behalf of Joint Debtor Ashley Louise Fitzpatrick hamilawoff@gmail.com

John T. Hamilton
                                 on behalf of Debtor Donald Anthony Fitzpatrick hamilawoff@gmail.com

U.S. Trustee
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                          ustpregion08.lx.ecf@usdoj.gov


TOTAL: 5
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 Information to identify the case:

 Debtor 1:
                       Donald Anthony Fitzpatrick                                       Social Security number or ITIN:    xxx−xx−4303
                                                                                        EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

 Debtor 2:             Ashley Louise Fitzpatrick                                        Social Security number or ITIN:    xxx−xx−7552
 (Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

 United States Bankruptcy Court:        Eastern District of Kentucky                     Date case filed for chapter:         11      4/29/24

            24−50512−grs
 Case number:

Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/22

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                                  About Debtor 1:                                           About Debtor 2:
 1. Debtor's full name                            Donald Anthony Fitzpatrick                                Ashley Louise Fitzpatrick

 2. All other names used in the
    last 8 years

 3. Address                                       1152 Red Lick Road                                        1152 Red Lick Road
                                                  Berea, KY 40403                                           Berea, KY 40403

 4. Debtor's attorney                             John T. Hamilton                                          Contact phone (859) 948−0078
       Name and address                           PO Box 240
                                                  Lexington, KY 40588                                       Email hamilawoff@gmail.com

 5. Bankruptcy trustee                            Charity S Bird                                           Contact phone 502−540−8285
       Name and address                           710 West Main Street                                     Email: cbird@kaplanjohnsonlaw.com
                                                  Fourth Floor
                                                  Louisville, KY 40202
                                                                                                           For more information, see page 2 >




Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)                Notice of Chapter 11 Bankruptcy Case                         page 1
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Debtor Donald Anthony Fitzpatrick and Ashley Louise Fitzpatrick                                                            Case number 24−50512−grs

 6. Bankruptcy clerk's office                                                                              Hours open:
     Documents in this case may be filed     United States Bankruptcy Court                                9:00am − 3:00pm, Monday − Friday
     at this address.                        Eastern District of Kentucky
     You may inspect all records filed in    100 E Vine Street Ste 200                                     Contact phone (859) 233−2608
     this case at this office or online at   Lexington, KY 40507−1430
     https://pacer.uscourts.gov.                                                                           Date: 5/7/24

 7. Meeting of creditors                                                                                   Location:
                                             May 28, 2024 at 02:00 PM
     Debtors must attend the meeting to                                                                    Telephonic Meeting of Creditors,
     be questioned under oath. In a joint
                                             The meeting may be continued or adjourned to a later date. please call five minutes in advance,
     case, both spouses must attend.         If so, the date will be on the court docket. For additional Conference Number: 866−916−7345,
     Creditors may attend, but are not       meeting information go to https://www.justice.gov/ust/moc Passcode: 6721716#
     required to do so.

 8. Deadlines                                Deadline to file a complaint objecting to discharge or to challenge whether certain
     The bankruptcy clerk's office must      debts are dischargeable (see line 11 for more information):
     receive these documents and any         • if you assert that the debtor is not entitled to receive a discharge of any debts under 11 U.S.C. §
     required filing fee by the following    1141(d)(3), the deadline is the first date set for hearing on confirmation of the plan. The court or its designee
     deadlines.                              will send you notice of that date later.
                                             • if you want to have a debt excepted from discharge under 11 U.S.C. § 523(a)(2), (4), or (6), the deadline
                                             is: _________.


                                             Deadline for filing proof of claim:
                                             For all creditors (except a governmental unit): 7/8/24
                                             For a governmental unit:                        10/28/24
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                             www.uscourts.gov or any bankruptcy clerk's office.
                                             Your claim will be allowed in the amount scheduled unless:
                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.

                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.
                                             You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                             explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                             rights, including the right to a jury trial.


                                             Deadline to object to exemptions:                              Filing Deadline:
                                             The law permits debtors to keep certain property as            30 days after the conclusion of the meeting of
                                             exempt. If you believe that the law does not authorize an      creditors
                                             exemption claimed, you may file an objection.

                                             If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 9. Creditors
    address
              with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 10. Filing a Chapter 11
     bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                              generally remain in possession of the property and may continue to operate the debtor's business.

                                                                                                            For more information, see page 3 >




Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)                 Notice of Chapter 11 Bankruptcy Case                           page 2
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Debtor Donald Anthony Fitzpatrick and Ashley Louise Fitzpatrick                                                          Case number 24−50512−grs

                                          Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                          See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the debtors
                                          personally except as provided in the plan. If you believe that a particular debt owed to you should be excepted
                                          from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint and pay the filing fee in
11. Discharge of debts                    the bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge of
                                          any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay the filing fee in the clerk's
                                          office by the first date set for the hearing on confirmation of the plan. The court will send you another notice
                                          telling you of that date.
                                          The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                          distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
12. Exempt property                       as exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If
                                          you believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                          bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 8.




Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)              Notice of Chapter 11 Bankruptcy Case                          page 3
